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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF KENTUCKY
                                       LEXINGTON DIVISION



                 REPUBLIC SERVICES, INC.,    ) CIVIL ACTION NO. 03-494 KSF
                                             )
                              Plaintiff,     )
                                             )
                        vs.                  )
                                             )
                 LIBERTY MUTUAL INSURANCE    )
                 COMPANY, et al.,            )
                                             )
                              Defendants.    )
                 ____________________________)




                                DEPOSITION OF DAVID W. O'BRIEN

                                   Woodland Hills, California
                                    Tuesday, August 29, 2006

                                            Volume 2




                 Reported by:
                 KARIN E. GLAAB
                 CSR No. 2638
                 JOB No. 919670




            1                     UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF KENTUCKY
            2                          LEXINGTON DIVISION

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           18    night, that that probably pertained to David Spruhance,
           19    because that's the only David, other than myself, that I
           20    know that has been involved in this case.

           21              So I probably -- as I was thinking last night,
           22    Floyd Skeren was probably there or Tom -- I mean, Floyd --

           23    John Floyd, excuse me, or Tom Skeren.    Fedde was obviously
           24    there, whoever he is.   And I would a suspect that David
           25    Spruhance was probably there because that David appears,


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            1    and I wouldn't put my own name there.

            2              So I wanted to go back and try to search my
            3    memory of that meeting, and I can vaguely remember being

            4    at a restaurant in Anaheim, and we were there for some

            5    period of time.   I think the record shows three hours,

            6    three hours and a half.

            7              And so it would be my suspicion that he was
            8    probably of counsel or something.   Otherwise, I wouldn't

            9    have -- have noted him.   And I wouldn't have noted him

           10    unless there was something about this case that was
           11    discussed.
           12              In other words, if I go to a meeting with -- I

           13    indicated we went to a meeting one time or a social

           14    gathering with David Spruhance.   I wouldn't have noted it
           15    because I would have charged for it.
           16              But if I went to a meeting with David Spruhance
           17    or somebody else that was just a social gathering where

           18    I'm invited, and this case is not discussed, then you
           19    would not find an entry in my book.

           20              And if you read carefully all my notes, I

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           21    document every moment that I'm involved in this case.
           22              So it bothered me that I didn't recall this
           23    gentleman.

           24              The second thing that bothered me last night was,
           25    you asked me about this payment of medical bills within

                                                                          241




            1    certain time frames, and I told you that in the time frame
            2    involved here, medical bills by statute are supposed to be
            3    paid within 60 days.

            4        Q     Yeah.

            5        A     And now it's been dropped down to 45 days on the
            6    new cases, 2/06, with the exception of county or state.

            7              But I should have added but only if the medical

            8    billings are supported by a medical report that is

            9    reasonable and supported by the official medical treatment

           10    fee schedule.     So I should have added that little
           11    addition.

           12              And if there's a medical legal report, then it

           13    has to be paid within that same time frame, but then again
           14    only if it's according to the official medical fee
           15    schedule, that difference on the treatment schedule, and

           16    that at the time it was prepared a claim form had been

           17    filed, and there was a dispute as to an issue.
           18              In other words, the carrier has no responsibility
           19    to pay a medical legal bill unless there is an issue in
           20    dispute for which that medical doctor was asked to render

           21    an opinion.
           22              So I wanted to make sure I corrected that.

           23        Q     Okay.

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           24        A     And then the last thing that I wanted to remember
           25    I thought about last night.    You asked me about this

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            1    business of sound medical practices that are recognized in
            2    California in workers' compensation, as far as I'm

            3    concerned.   And I should have added the best business

            4    practices standards and any special standards that a
            5    client may agree with or the insured may agree with the
            6    insurance company.    And I should have emphasized that

            7    those are standards, not guidelines.

            8              So, if I can just make those updates.
            9        Q     Okay.   Let me -- on the last thing you were

           10    talking about, you were talking about standards versus

           11    guidelines, I wasn't following you.

           12        A     As I understand, the best practices are --

           13    they're standards, not guidelines.    I mean, you're
           14    supposed to follow them, because they're in the interest

           15    of everybody involved, the worker and the insurance

           16    company and insured.
           17              So we use guidelines a lot in California
           18    nowadays, about the utilization review guidelines, the

           19    official medical -- we call it the -- we call it the ACOEM

           20    guidelines, A-C-O-E-M, Academy of -- those are guidelines,
           21    and so they are not standards.    As I understand standards,
           22    that you apply those.
           23              And I also meant to correct, I used the word 24

           24    hours, and what I should have been saying is that equals
           25    to one business day.    So, when I said 24 hours that the

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            1    justice should do this or the justice should do that, I
            2    should have added business days, because there could be a

            3    Sunday in there.
            4              And when I said 48 hours for maybe the doctor or
            5    the supervisor, I also was assuming that I would be

            6    interpreted as meaning two business days.

            7        Q     Okay.   Sir, let me ask you about some of the
            8    things you have testified to this morning.
            9              Talking about best practices or standards,

           10    which -- now, yesterday you mentioned several different

           11    best practices.    Are we talking -- when you say best
           12    practices or standards, which best practices are you

           13    talking about?

           14        A     Well, the best practices --

           15              MR. ADREANI:   Object to form.

           16              THE WITNESS:   The best practices that were agreed
           17    upon, I presume agreed upon between Republic and Liberty

           18    and the best practices that I alluded to, the ESIS,

           19    E-S-I-S, which I made reference to.     And other -- Counsel,
           20    other best practices that I have encountered.
           21              When I have done expert testimony, sometimes the

           22    insurance company shares with me documents that I agree

           23    that I will give back, and I have encountered two or three
           24    best practices standards that different entities have used
           25    and have always given them back.    But I have that ESIS one

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            1    because they mailed me that, or somebody mailed me that
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            2    one, so I felt that wasn't private.

            3    BY MR. HIXSON:
            4        Q     Okay.   I am getting a little lost here from where
            5    you're going here.

            6              What was your point today of bringing up best
            7    practices to me in terms of being standards versus
            8    guidelines?

            9        A     Well, I didn't want to leave the impression,

           10    because I may have yesterday, that I just felt they were
           11    guidelines, and you didn't have to strictly follow them.
           12        Q     Okay.

           13        A     Because I think that McCoy says in his book that

           14    it's in the best -- it's in the best interest of the
           15    employer to keep the cost down to make certain that the

           16    best practices are followed.

           17              Now, McCoy is talking generally about employers,

           18    but if you read McCoy carefully, which I have, he is also

           19    talking to claims management, because at one point he
           20    talks about, for example, it's in the best interest of the

           21    employer to -- he used the word not put the pressure on,

           22    but insist that the claims adjuster close down the case as
           23    quickly as possible.
           24        Q     Okay.   Let's focus on best practices here for a

           25    second.   You think in this case that there are best

                                                                           245




            1    practices that Liberty needed to strictly follow.    Am I --

            2    are we on the same page?
            3        A     Yeah.
            4              MR. ADREANI: Object to form.
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            5              Go ahead.

            6              THE WITNESS:    Yeah.   I think that Liberty has
            7    come up with nationwide best practices that they offer to
            8    the customer that they are going to follow in order to

            9    insure a good result for the injured worker, the employer,
           10    and themselves.
           11    BY MR. HIXSON:

           12        Q     Okay.   And you think in this case that there are

           13    best practices that -- I think using your words, that
           14    Liberty needed to strictly follow.
           15              MR. ADREANI:    Object to form.

           16              THE WITNESS:    Absolutely.

           17    BY MR. HIXSON:
           18        Q     Okay.   And those best practices are what and

           19    where are they?

           20        A     We alluded to them yesterday quite often, and we

           21    backed them up with the special instructions standards.

           22        Q     Okay.   Well, let's talk -- let's try to focus on
           23    best practices for a sec.      Bear with me here.

           24              Let's go ahead and -- I'm going to show you a

           25    copy of best practices -- Workers' Compensation Lost Time

                                                                              246




            1    Cases Claims Best Practices/Service Standards.       Are those
            2    the best practices that you're talking about?       And if you

            3    need to look at your notebook, you can do that, too.
            4              MR. ADREANI:    I would like to see that, Judge.

            5              THE WITNESS:    Yes, Counsel.
            6              MR. HIXSON:    I don't have an extra copy, sir.
            7              THE WITNESS: Those are the ones.
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            8    BY MR. HIXSON:

            9        Q     Are these the same best practices that you have
           10    in your notebook?    And if you need to confirm, you're free
           11    to do that.

           12              (Discussion off the record.)
           13    BY MR. HIXSON:
           14        Q     Are the dates on that bottom right-hand corner

           15    the same, sir?    I didn't write down the date you have from

           16    yesterday.
           17        A     The one you handed me, Counsel, the one I'm
           18    looking at is the same, April 30, '01.

           19        Q     Okay.   So let's break down, if we can, what we

           20    were talking about this morning.    When you were talking
           21    about the best practice standards that Liberty needed to

           22    strictly follow, you were talking about this document that

           23    I'm going to mark as exhibit next.    Let me take --

           24              Exhibit 3?

           25              THE REPORTER:    Yeah.

                                                                           247




            1              (Deposition Exhibit 3 was marked for.
            2              identification by the court reporter.)

            3    BY MR. HIXSON:
            4        Q     Is that -- was that statement correct?
            5        A     Well, Counsel, I don't want to infer that all

            6    that Liberty had to do was follow this best practices
            7    standards, because they had to follow the laws of the

            8    State of California, rules and regulations and the
            9    statutes.
           10        Q     Let me clarify that question, then.   One of the
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           11    things that Liberty had to do, in your opinion, is that it

           12    needed to strictly follow the best practices that are
           13    attached as Exhibit 3.
           14        A     When you say the word "strictly," Counsel, I

           15    realize that sometimes the law says you only can go 30
           16    miles, but for an emergency you've got to go 80.     So there
           17    can be a little deviation here.

           18              I don't say that -- I don't like the word

           19    "strictly," but, yes, you're supposed to follow -- if you
           20    issue standards, and you entice the community to come into
           21    your store because of what you promised to do, then I say

           22    you should follow what you promised.

           23        Q     Okay.   So, when you start the day off talking
           24    about the best practices as standards, one of the best

           25    practices you were talking about is Exhibit No. 3.

                                                                            248




            1        A     Well, see, what happened, you were asking me
            2    yesterday late in the day, and it bothered me that I kept

            3    having to go and look at my 21 or 25 points where I said

            4    Liberty perhaps didn't follow so-and-so.
            5              And I said to myself last night I should have

            6    mentioned to Mr. Hixson that I was also looking at
            7    Liberty's best practices standards and the SSIs and
            8    California law.

            9        Q     Okay.
           10        A     Particular -- special California regulations that

           11    may cut across.    That's all I meant.
           12        Q     Okay.   Let's talk about best practices.   Are
           13    there any other best practice standards that you think
                                    Page 14



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         14     Liberty should have followed while handling Republic's

         15     claims other than the best practice standards that we have
         16     marked as Exhibit No. 3?
         17              MR. ADREANI:    Asked and answered.   We spent two

         18     hours on that yesterday.
         19     BY MR. HIXSON:
         20         Q    Go ahead.    And here's what I'm trying to get at.

         21     You mentioned some other best practices yesterday.     Do you

         22     believe that there are any other best practices standards
         23     which Liberty should have followed while handling Republic
         24     claims other than those in Exhibit 3?

         25         A    Yes, I do.    And I think I gave you some examples

                                                                          249




          1     yesterday that there are certain principles, you might

          2     call them, or common sense things that a claims adjuster

          3     should do.

          4         Q    Okay.   Let me --
          5         A    Can I explain myself?

          6         Q    Let me clarify my question, and it might -- might

          7     save us some time here.
          8              MR. ADREANI:    Are you going to strike the

          9     previous question?
         10              MR. HIXSON:    I'll withdraw the previous question.
         11              MR. ADREANI:    Thank you.

         12     BY MR. HIXSON:
         13         Q    Are there any other written best practices

         14     standards that you think Liberty should have followed
         15     while handling Republic's claims, other than the written
         16     best practices standards in Exhibit No. 3?
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         17               MR. ADREANI:   I will object to form.

         18               You can answer.
         19     BY MR. HIXSON:
         20           Q   Go ahead.

         21           A   Counsel, when you say best practices in
         22     California, you are certainly talking about any standards
         23     that an insurance company or TMP -- TPA sets forth as to

         24     why we think we can do a good job for you.

         25               So those, as far as I'm concerned, should be

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          1     followed because that is what you promised to do, and

          2     that's why maybe I come on board and buy your product

          3     rather than the other product.
          4               But in addition, you and I can -- and it's done

          5     here apparently -- negotiate that, and beyond the best

          6     practices standards that you adopt across the country,

          7     because it's called nationwide -- you and I can agree
          8     we're going to go beyond this.    I'm going to be more

          9     involved in the litigation, and here's what you have to

         10     do.
         11               So I say once you adopt those standards, they

         12     also become in a sense best practices standards.    But,
         13     Counsel, outside of that, if you're going to sell
         14     insurance in California or across this country, there are

         15     certain basic principles that -- I just call them common
         16     sense principles that everybody should follow.    If they

         17     don't follow them, they are mismanaging the claim.    And I
         18     want to get to an example, if I could.
         19           Q   Well, sir, I appreciate you offering an example.
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         20     I would really like an answer to my question, and the

         21     question, I think, is very simple.
         22               Are there any other written best practices
         23     standards that you think Liberty should have followed when

         24     handling Republic claims, other than the written standards
         25     that are marked as Exhibit 3?     Are there any other written

                                                                          251




          1     standards or not?    Other written best practices standards

          2     or not?
          3               MR. ADREANI:    The question has been asked, and

          4     the answer was interrupted.

          5     BY MR. HIXSON:

          6         Q     So I -- what I would like for you to do is to
          7     give me a yes or no, and then you can explain.

          8         A     Yes.

          9         Q     Okay.   What are those other written best

         10     practices that you think Liberty should have followed and
         11     where can I find them?

         12               MR. ADREANI:    Asked and answered.

         13               THE WITNESS:    You don't call them best practices,
         14     per se, but the rules and regulations of the Division of

         15     Workers' Compensation, the rules and regulations of the
         16     Workers' Compensation Appeals Board, the rules and
         17     regulations of the Audit Department, the rules and

         18     regulations of the Division of Safety and Workers'
         19     Compensation, just to start off to name a few.

         20     BY MR. HIXSON:
         21         Q     And you --
         22         A     You're supposed to follow those rules.
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         23         Q    In your daily workers' compensation practice, do

         24     you refer to the rules and regulations as best practices?
         25              MR. ADREANI:    Object --

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          1              THE WITNESS:    No.

          2              MR. ADREANI:    Object to form.
          3     BY MR. HIXSON:

          4         Q    Okay.   Then, let's focus our -- let's -- I want

          5     to focus here on what you refer to as best practices.     I
          6     don't want to talk about statutes, and I don't want to

          7     talk about regulations.    I want to talk about best

          8     practices.

          9              Are you aware of any other best practices
         10     documents, not statutes, not regulations, best practice

         11     documents that you believe Liberty should have followed

         12     other than the best practice document you have in front of

         13     you marked as Exhibit No. 3?
         14              MR. ADREANI:    Object to form.

         15              THE WITNESS:    Well, if you want to -- Mr. Hixson,

         16     you want to sweep aside all of California's rules and
         17     regulations, all the requirements of an insurance company

         18     that they must follow in the state of California, if they
         19     are going to adjust and sell insurance on workers' comp,
         20     then I agree with you.    If you want to sweep that all

         21     side, I have no problem with your answer.
         22              MR. HIXSON:    Okay.

         23              THE WITNESS:    But, as far as I am concerned,
         24     those rules and regulations are supposed to be followed,
         25     and if you follow them -- and you brought it up
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          1     yourself -- pay the medical bill within 60 days if

          2     so-and-so happens.    To me, that's a common practice, and
          3     that's a requirement.
          4               MR. HIXSON:    Okay.

          5               THE WITNESS:    It's mandatory.
          6     BY MR. HIXSON:

          7         Q     Okay.   Let's -- let's try to be clear here.    I

          8     know -- I'm going to concede that laws, rules and
          9     regulations to some extent regulate Liberty Mutual.      I'm

         10     going to put all those aside.     I'm only talking about one

         11     thing.   I'm putting everything else aside right now, and

         12     the one thing I want to talk about is best practices.
         13     We're not talking about anything else.

         14               Are you aware of any other best practices that

         15     you think Liberty should have followed other than the best

         16     practices in Exhibit 3?
         17               MR. ADREANI:    Object to form.

         18     BY MR. HIXSON:

         19         Q     Written best practices.
         20         A     I recall attending a seminar put on by the State

         21     of California last February over at a hotel at the
         22     airport, and there was 900 people, mostly claims
         23     adjusters, and that seminar was put on by the Division of

         24     Workers' Compensation and the Work Comp Appeals Board in
         25     order to educate all of us as to things that we're

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          1     supposed to be doing to better manage workers'
          2     compensation to bring down the cost.     And I wish I had it,

          3     but I had a list of everybody in that room.      And I was
          4     impressed by how many people were there from not just

          5     Liberty Mutual, the vice-president, I recall, but all of
          6     these claims adjusters that over the years I have
          7     encountered, and all of these defense attorneys.      And that

          8     seminar is put on every year in February, north and south,
          9     Oakland north, L.A. south, to train and teach claims

         10     adjusters and all of us lawyers how to better follow these

         11     rules and regulations and what has changed.
         12               So I count that in as part of good claims sound

         13     management.

         14           Q   Okay.   So is the answer to my question, yes,

         15     there are other written best practices that you believe
         16     Liberty should have followed?

         17           A   We don't call them best practices, Counsel.

         18           Q   Okay.   If they're not best practice, I don't care

         19     about them right now.     I want to know:   Are there any
         20     other written best practices?     If there are not, just tell

         21     me.

         22               MR. ADREANI:    Object to form.
         23               THE WITNESS:    Well, Counsel, I don't want to

         24     argue with you, but I'm sure there are, but I've never
         25     seen them.

                                                                             255




          1               MR. HIXSON:    Okay.

          2               THE WITNESS:    Otherwise, I would tell you about

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          3     them.
          4     BY MR. HIXSON:
          5         Q    Do you think there are other written best

          6     practices that you think Liberty should have followed when
          7     handling Republic's claims, other than the written best

          8     practices in Exhibit 3?    That's all I want to know.
          9         A    No, I don't think Liberty has any obligation to
         10     follow best practices that are prepared by ESIS or the

         11     State Compensation Insurance Fund, but they are required
         12     to follow their own best practices, their SSIs and all of

         13     the rules and regulations in the state of California, plus

         14     the case law.    We assume that --
         15         Q    Sir, I think you've answered my question.      Thank

         16     you.

         17         A    Can I finish, though?

         18         Q    Sir, you've answered the question, so, no, you
         19     can't.

         20              MR. ADREANI:    How do you know he's answered the

         21     question?

         22              MR. HIXSON:    Because he started off by answering
         23     with the word "yes."

         24              MR. ADREANI:    All right.   You're not letting him

         25     finish, for the record, again.

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          1     BY MR. HIXSON:
          2         Q    Sir, let's talk about special service

          3     instructions.    How would you describe the special service
          4     instructions in this case?

          5              MR. ADREANI:    Object to form.

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